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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
CONRAD SMITH, et al.,                     )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )
                                          ) Case No. 21-cv-02265 (APM)
DONALD J. TRUMP, et al.,                  )
                                          )
      Defendants.                         )
_________________________________________ )

                                              ORDER

       Having heard and considered the disputes raised during a discovery hearing held on

November 26, 2024, between Plaintiffs and Defendants Make America Great Again PAC and

Donald J. Trump For President, Inc. (the “Campaign Defendants”), the court orders the following:

   1. Campaign Defendants shall run the existing search strings across the four new custodians

       and produce any responsive documents arising from these searches.

   2. Campaign Defendants shall submit to Plaintiffs a hit report as to the newly requested search

       terms across all custodians (or a narrowed set of custodians) and an estimated cost of

       running such searches. If there still remains a dispute about running these additional

       searches, the parties shall notify the court.

   3. Campaign Defendants shall produce responsive invoices and related records found at the

       email address (and any related custodial file) identified by Justin Clark during his

       deposition.

   4. Campaign Defendants shall, as needed, justify any challenged assertions of privilege,

       including as to any records involving persons identified in Plaintiffs’ Interrogatory No. 6.
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   5. Plaintiffs shall complete their production of records related to damages by December 18,

      2024.




Dated: November 27, 2024                                 Amit P. Mehta
                                                  United States District Court Judge
